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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     NORFOLK DIVISION

      In re: ZETIA (EZETIMIBE) ANTITRUST
      LITIGATION

                                                        MDL No. 2836
      This Document Relates To:
                                                        Civil Action No. 18-md-2836-RBS-DEM
      All Direct Purchaser Actions



           REPLY IN FURTHER SUPPORT OF DIRECT PURCHASER PLAINTIFFS’
            MOTION TO COMPEL WILSON SONSINI GOODRICH & ROSATI TO
                        PRODUCE SUBPOENAED DOCUMENTS

            Direct purchaser plaintiffs (“direct purchasers”) are pleased to report that nonparty law

  firm Wilson Sonsini Goodrich and Rosati (“Wilson Sonsini”) made a production of 290 documents

  in response to the subpoena on the same day it served its opposition brief to the Motion to Compel

  (the “Motion”). That production resolved much of what necessitated the Motion to begin with,

  namely Wilson Sonsini’s refusal to produce any documents unless and until direct purchasers

  agreed to various unreasonable demands. There are, however, some lingering issues that still need

  to be resolved.

            Wilson Sonsini’s July 1 production disclosed for the first time the substantial involvement

  of four other Wilson Sonsini actors in the at-issue events, former partners Arthur Hoag and Dan

  Brown, former associate Jonathon Lutinski, and Linda North.1 These documents show that Arthur

  Hoag and Dan Brown each played a distinctive leadership and/or liaison role such that there is a

  strong likelihood to expect that both communicated directly with other non-Wilson Sonsini actors


  1
    Direct purchasers have been unable to confirm the position Ms. North held at Wilson Sonsini at
  the time.


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  (including Merck and Glenmark’s outside counsel) without a copy to any one of the three present

  custodians, partner Seth Silber and former associates Eliot Choy and Jennifer Saionz.

         Wilson Sonsini has met our request to add Mr. Hoag and Mr. Brown as custodians with the

  same sort of unreasonable conditions that necessitated the Motion to begin with, specifically

  conditioning resolution of the remaining disputes on direct purchasers’ agreement to completely

  forgo: (i) any further privilege logging,2 (ii) any further discovery requests, including any follow-

  ups regarding subsequently produced material, (iii) any depositions whatsoever, including the

  keeper of records authentication deposition that has been duly noticed. As it is presently unclear

  whether direct purchasers will even need any further privilege logging, further follow-ups, and/or

  any Wilson Sonsini depositions, there are no real ripe disputes on these issues for the Court to

  resolve except for Wilson Sonsini’s use of these issues as a roadblock to discovery.

         Wilson Sonsini’s production also does not include any of the retainer-related materials

  Wilson Sonsini had previously agreed to produce but now claims are privileged and have been

  withheld. The at-issue retainer agreements and conflict waivers are not privileged and must be

  produced.

         We accordingly request that the Court enter an order in the form of the attached revised

  proposal compelling Wilson Sonsini to: (i) conduct a search of Mr. Hoag and Mr. Brown’s files

  using the same search parameters it used to generate the current production and produce all

  relevant materials from those custodians’ files, and (ii) produce its 2007 retainer and 2010 conflict

  waiver documents.




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   On July 10, Wilson Sonsini served a letter providing broad, unilaterally-determined categorical
  descriptions of the documents it has withheld on privilege grounds.




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      I.      Wilson Sonsini Must Produce Documents from the Custodians Revealed for the
              First Time Through Its Eleventh-Hour Production

           Wilson Sonsini’s July 1 production revealed for the first time four additional Wilson

  Sonsini actors that were materially involved in the April 2010 Par Distribution Agreement and the

  May 2010 Glenmark Settlement Agreement.




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    Beyond the Wilson Sonsini produced emails reflecting Mr. Brown’s senior role in the at-issue
  events, a February 9-11, 2010 email thread Glenmark first produced in its 30,000-page June 7
  production clarifies that Mr. Brown had particular oversight over the due diligence issues and was
  the lone Wilson Sonsini recipient of the non-privileged Merck-Glenmark patent litigation materials
  Par considered in connection with the proposed Glenmark-Par deal and contemplated joint
  subsequent settlement with Merck.


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         At all times leading up to the Motion and the July 1 production Wilson Sonsini had ample

  opportunity to disclose the involvement of these four other material Wilson Sonsini actors and

  particularly Arthur Hoag and Dan Brown but did not do so. Instead, it proposed and maintained

  as the only appropriate custodians the three Wilson Sonsini attorneys the subpoena identified by

  name, notwithstanding that we repeatedly made clear throughout the meet and confer process that

  direct purchasers lacked the information necessary to determine the complete universe of Wilson

  Sonsini actors and that it was therefore incumbent on Wilson Sonsini to investigate the issues and

  “identify any other Wilson Sonsini personnel materially involved in the issues beyond the three

  identified in the subpoena.” Demuth Decl. Ex. 2 (ECF 288-2) at 22. Given their material roles and

  responsibilities, Mr. Hoag and Mr. Brown should have been previously disclosed, and their files

  searched for responsive documents from the get go.5




  5
    In its opposition, Wilson Sonsini did not meaningfully address the arguments made in the opening
  brief (at 12-13) concerning direct purchasers’ right to seek additional searches. Instead, Wilson
  Sonsini argued that because it produced 290 documents, it should now be excused from any further
  discovery obligations. Opp. at 13-14. Direct purchasers most recent attempt to meet and confer on
  this issue was met with a similarly short shrift response. See Supplemental Declaration Ex. 10 at
  2 (“From my perspective, there are no ‘custodian issues’ to discuss for the reasons that I made
  clear in our opposition brief.”).


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      II.      Wilson Sonsini’s Relies on Inapposite Mere Bystander and Litigation Counsel
               Cases in Support of Its Meritless Argument that It Should Be Shielded from Any
               Discovery

            Wilson Sonsini is not an uninvolved nonparty. It directly negotiated and advised its client

  regarding both of the at-issue agreements, including the Settlement Agreement containing the

  unlawful no-AG reverse payment agreement. The documents sought from Wilson Sonsini include

  patent litigation and settlement materials that Wilson Sonsini is ethically required to maintain,

  including communications between only outside counsel that would not be produced by any party

  in the litigation.

            Wilson Sonsini’s reliance on nonparty bystander cases such as Virginia Dep’t of Corr. v.

  Jordan, 921 F.3d 180 (4th Cir. 2019) is misplaced. That case involved a challenge to the

  Mississippi’s lethal-injection procedure in which plaintiffs subpoenaed records from bystander

  nonparty Virginia about its own lethal-injection procedures. The documents Virginia already

  produced in response to the subpoena demonstrated that it would not have any of the kind of

  materials the Mississippi death row plaintiffs theorized would support their challenge to

  Mississippi’s lethal-injection procedure. 921 F.3d at 190-191. In contrast, the documents Wilson

  Sonsini produced confirm its direct role in at-issue events and the need for further discovery.

            Wilson Sonsini similarly relies on inapposite litigation counsel cases to argue that it is

  presumptively immune from any discovery because it is a law firm. While some courts do take

  measures to “protect against the ills of deposing opposing counsel in a pending case which could

  potentially lead to the disclosure of the attorney’s litigation strategy,” In re Subpoena Issued to

  Dennis Friedman, 350 F.3d 65, 71 (2d Cir. 2003) (Sotomayor, J.) (quoting Pamida, Inc. v. E.S.

  Originals, Inc., 281 F.3d 726 (8th Cir. 2002)), those cases do not “automatically insulate [even

  opposing litigation counsel] from a deposition nor automatically require prior resort to alternative




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  discovery devices.” Dennis Friedman, 350 F.3d at 72. Moreover, any such “heightened protection

  [provided to litigation counsel does not extend] to attorneys who represented a client in a

  completed case.” Pamida, Inc., 281 F.3d at 730 (permitting deposition of a nonparty attorney who

  represented a party in a concluded patent infringement case). Wilson Sonsini is not litigation

  counsel in this antitrust case, nor was Wilson Sonsini litigation counsel in the Merck-Glenmark

  patent litigation proceedings.   Its role was narrowly cabined to brokering the two at-issue

  agreements – basically a business transaction related to a now-concluded litigation. There is no

  heightened burden to overcome for the clearly relevant discovery sought here.6

      III.   Wilson Sonsini’s 2007 Retainer and 2010 Conflict Waivers Are Not Privileged
             But Are Responsive and Should Be Produced.




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    All of Wilson Sonsini’s other cases are plainly inapt. In re Subpoenas for Documents Issued to
  ThompsonMcMullan, P.C., No. CV 3:16-MC-1, 2016 WL 1071016 (E.D. Va. Mar. 17, 2016)
  quashed the law firm subpoena because it sought documents concerning separate litigation in
  which the law firm represented the same client but which litigation bore little relevance to the
  litigation at hand. Phillips & Cohen, LLP v. Thorpe, 300 F.R.D. 16 (D.D.C. 2013), quashed the
  subpoena because it similarly sought documents “of no conceivable relevance in the context of the
  action now pending.” 300 F.R.D. at 18. Doubleday v. Ruh, 149 F.R.D. 601 (E.D. Cal. 1993),
  quashed a deposition subpoena for criminal prosecutor testimony after directing production of
  relevant documents but relied on an expansive reading of Shelton v. Am. Motors Corp., 805 F.2d
  1323, 1327 (8th Cir. 1986), which the Eight Circuit itself later rejected in Pamida, Inc. v. E.S.
  Originals, Inc., 281 F.3d 726 (8th Cir. 2002). Wilson Sonsini also incorrectly characterizes Rhodes
  v. Sutter Gould Med. Found., No. 12-cv-13, 2014 WL 2091767 (E.D. Cal. May 16, 2014), as a
  case not involving present litigation counsel. Compare Opp. at 8 & n.4 with 2014 WL 2091767 at
  *1-2 & n.2 (subpoena sought counsel testimony concerning her efforts to comply with a prior
  discovery order).




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      IV.      Unless and Until Direct Purchasers Actually Seek Further Discovery There Is
               No Ripe Dispute for the Court to Resolve

            No nonparty wants to be subject to discovery, and those that do get subpoenaed

  understandably want it to be over and done with. But these desires do not trump legitimate

  discovery needs.      Wilson Sonsini’s repeated demand that any responsive production be

  conditioned on direct purchasers first agreeing to forgo any and all checks on what it might do to

  satisfy the subpoena is unreasonable. It is presently unclear whether and to what extent further

  privilege logging, privilege challenges, follow-up discovery (including in response to yet to be

  produced documents), and/or deposition discovery will be necessary. It may very well be that no

  further action beyond the presently contemplated production is needed. However, with the

  discovery of additional custodians having central roles in the transactions at issue, revealed in the

  first production of documents but not identified by Wilson Sonsini’s counsel in the meet and confer

  process, direct purchasers’ cannot be certain at present. In the meantime, Wilson Sonsini has no

  basis in law to demand its various give ups from direct purchasers as the condition precedent to

  production of concededly relevant documents.8

                                            CONCLUSION

            For the foregoing reasons and the reasons stated in direct purchasers opening brief, the

  Court should grant the Motion by entering the form of the attached revised proposed order

  directing Wilson Sonsini to promptly produce its 2007 and 2010 retainer and waiver materials as

  well as all non-privileged documents from Mr. Hoag and Mr. Brown that are responsive to the




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   We need not belabor the waiver issues as direct purchasers have and will continue to treat Wilson
  Sonsini as if its failure to serve objections did not result in a complete waiver.


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  subpoena, without prejudice to direct purchasers right to seek, if necessary, further discovery in

  the ordinary course.


  Dated: July 12, 2019                               /s/ William H. Monroe, Jr.
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 12, 2019, I electronically filed the foregoing with the Clerk of
   the Court using the CM/ECF system, which will send a notification of such filing (NEF) to all
   counsel of record who have made a formal appearance.



   Dated: July 12, 2019                                   /s/ William H. Monroe, Jr.
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